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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

BORODAENKO and MEHTA, Case No. C. 4:22-cv-07226-HSG
Plaintiff(s)
Vv. REQUEST FOR ADR PHONE
CONFERENCE

TWITTER, INC.

Defendant(s)

 

Counsel hereby request an ADR Phone Conference with a member of the legal staff of the ADR
Program.

Date of Case Management Conference: May 4, 2023

The following counsel will participate in the ADR phone conference:

 

 

 

Attorney Name & Party Representing Phone & Email Address

Eric Meckley (415)-442-1013

Defendant Twitter, Inc. eric. meckley@morganlewis.com
Shannon Liss-Riordan (617) 994-5800

Plaintiffs Borodaenko and Mehta sliss@Ilrlaw.com

 

 

 

 

 

 

ADR Local Rule 3-6(a) requires that lead trial counsel participate in the ADR Phone Conference.
The ADR Unit (adr@cand.uscourts.gov) will notify you of the date and time of your phone

conference.

Date: 4/21/2023 Signed: /s/ Shannon Liss-Riordan

Attorney for Plaintiff

Date: 4/21/2023 Signed: /S/ Eric Meckley
Attorney for Defendant

 

E-file this form in ECF using event name: “Request for ADR Phone Conference.”

Form ADR-TC rev. 5-1-2018
